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8                            UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11   UNITED STATES OF AMERICA,                No. SA CR 19-00047-JLS

12             Plaintiff,                     [PROPOSED] PROTECTIVE ORDER

13             v.

14   STEPHEN WILLIAM BEAL,

15             Defendant.

16

17   The Court finds as follows:
18        1.    Defendant STEPHEN WILLIAM BEAL is currently charged in an
19   indictment with violations of the following offenses: 18 U.S.C.
20   § 2332a(a)(2) (Use of a Weapon of Mass Destruction Resulting in
21   Death); 18 U.S.C. § 844(i) (Malicious Destruction of a Building
22   Resulting in Death); 18 U.S.C. § 924(c) (Use of a Destructive Device
23   During and in Relation to a Crime of Violence); and 26 U.S.C.
24   § 5861(d) (Possession of an Unregistered Destructive Device).
25        2.    Pursuant to its discovery obligations in this case, the
26   government wants to disclose to defendant’s counsel in discovery
27   certain materials that the government represents implicate third-
28   party privacy, law enforcement sensitive or national security
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1    concerns.    In addition, some of these materials are electronic in

2    origin, making mitigation of these concerns through redaction

3    problematic.     These Materials are collectively referenced below as

4    “Protective Order Material(s).”

5         3.     The parties have stipulated to this protective order under

6    which the government would disclose to defendant’s counsel in

7    discovery certain Protective Order Materials.

8    Accordingly, for good cause shown, IT IS HEREBY ORDERED THAT:

9         4.     The government may provide to defendant’s counsel a copy of

10   Protective Order Material(s) under the following terms and

11   conditions:

12               a.    The government will provide to defendant’s counsel a

13   single copy of the Protective Order Material(s), redacted if and as

14   appropriate.     In the case of electronic material, e.g., a mirror

15   image of a computer, there will be no redaction of protected

16   materials.    The government will label the Protective Order

17   Material(s) as being subject to a protective order.

18               b.    Defendant’s counsel is permitted to make copies of the

19   Protective Order Material(s) as necessary for the preparation of the

20   defense and for litigation of matters that arise therefrom.

21   Defendant’s counsel shall maintain a record of all copies of the

22   Protective Order Material(s) that are made, and shall return or

23   destroy all copies that are received or made at the conclusion of the

24   litigation (as further detailed in paragraph l below).           Defendant’s

25   counsel shall ensure that the defendant represents he shall not

26   retain any Protective Order Material(s) or copies thereof after the

27   conclusion of the litigation as stated in the Acknowledgment of

28   Defendant.

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1               c.    Defendant’s counsel shall maintain all Protective

2    Order Material(s), including any copies, in accordance with this

3    Order.

4               d.    The Protective Order Material(s) shall be maintained

5    at all times by defendant’s counsel in a secure storage facility

6    (including both physical and electronic), except while being actively

7    utilized as provided for in this Order.         A locked attorney office,

8    locked file cabinet, or other locked receptacle meets this

9    requirement.

10              e.    A copy of this Order shall be kept with the Protective

11   Order Material(s) at all times.

12              f.    The Protective Order Material(s) and its contents

13   shall not be disseminated 1 by defendant’s counsel to any persons,

14   organizations or other entities, other than: (i) defendant (under the

15   conditions set forth below); (ii) members of the defense team

16   (attorneys, paralegals, investigators, translators, litigation

17   support personnel, and secretarial staff); (iii) experts and

18   consultants retained or noticed to the government and Court to assist

19   in the preparation of the defense; and (iv) third-party witnesses for

20   the sole purpose of preparation of the defense of the defendant. 2

21   All person, organization, or entity with access to the Protective

22   Order Material(s) must be provided with a copy of this Order.

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25        1  “Disseminated” means to provide, show or describe to another
     either a particular piece of discovery or quotations, excerpts, or
26   summaries derived therefrom.
          2  “Members of the defense team” also includes other attorneys
27
     within the same law firm with whom defendant’s counsel of record
28   needs to discuss the case.

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1               g.    Defense counsel may provide to his or her client (the

2    defendant in this case that he or she represents) a single copy of

3    any Protective Order Material(s), provided that:

4                     (1) Defendant agrees in writing to the terms and

5    conditions of this Protective Order.

6                     (2) Defendant agrees in writing that he will not make

7    any copy of any Protective Order Material(s).

8                     (3) Defendant agrees in writing that he will not

9    disseminate any Protective Order Material(s) to anyone, except as

10   necessary for detention facility personnel to facilitate defendant’s

11   access to the Protective Order Material(s).         In the event of a

12   conviction, after sentencing, each defense counsel shall retrieve

13   from the detention facility and return to the United States

14   Attorney’s Office for the Central District of California any discs,

15   hard drives, or other materials provided to the detention facility

16   for review by the defendant he or she represents.           In the event of an

17   acquittal, the detention facility shall return the Protective Order

18   Material(s) to defense counsel, who will destroy or return to the

19   United States Attorney’s Office, as described in paragraph (m) below.

20                    (4) Defendant agrees in writing that he will not show

21   any Protective Order Material(s), or disclose any information

22   contained within any Protective Order Material(s), to anyone.

23                    (5) Defendant agrees in writing that he will maintain

24   the Protective Order Material(s) in such a way as to keep it and the

25   information in it from disclosure to anyone.

26              h.    Except for members of the defense team, all person,

27   organization, or entity with access to the Protective Order

28   Material(s) must agree to the terms of this Protective Order by

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1    signing the Memorandum of Understanding at the end of this order.

2    Copies will be retained by defense counsel and provided to the

3    government if requested.

4               i.    In addition, the Protective Order Material(s) and its

5    contents shall not be disseminated to anyone who is not assisting in

6    the preparation of the defense of the defendant in this case.

7               j.    In addition, the Protective Order Material(s) shall

8    not be disseminated to, nor shall the information within Protective

9    Order Material(s) be disclosed in any way, to the media.

10              k.    Defense counsel may provide defendant a single copy of

11   any Protective Order Material(s).

12              l.    The Protective Order Material(s), including any

13   copies, may not be used, introduced, or otherwise relied upon, in any

14   proceeding by any person, except by defendant’s counsel of record in

15   this case in hearings and proceedings in United States v. Stephen

16   William Beal, SA CR 19-00047-JLS (Central District of California) and

17   any appeal or any post-conviction collateral attack on any conviction

18   or sentence arising therefrom.

19              m.    All Protective Order Material(s), including all

20   copies, shall be destroyed or returned to the United States

21   Attorney’s Office for the Central District of California at the

22   conclusion of this case and any appeal or post-conviction collateral

23   attack on any conviction or sentence arising therefrom.            If defense

24   counsel work product is present on the Protective Order Material(s),

25   then when those materials are returned, defense counsel and/or staff

26   will observe U.S. Attorney’s Office staff shred those materials at

27   the U.S. Attorney’s Office.      At the conclusion of the case and

28   appeal, defendant will sign the Acknowledgment of Defendant at the

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1    end of this Order affirming that he no longer has access to

2    Protective Order Material(s).

3               n.    This protective order shall be binding on subsequent

4    counsel should defendant change attorneys at any time.

5               o.    Nothing in this Order will be construed so as to limit

6    or restrict the government’s discovery obligations pursuant to Rule

7    16 of the Federal Rules of Criminal Procedure and Brady v. Maryland,

8    373 U.S. 83 (1963), or any other provision of law.

9               p.    Nothing in this order shall be construed: (1) as a

10   waiver by any defendant to seek additional discovery beyond that

11   provided by the government; or (2) as a waiver of any defendant’s

12   right to seek an unredacted version of any Protective Order

13   Material(s); or (3) as a waiver of any defendant’s right to challenge

14   whether a specific document should be subject to this protective

15   order.   Nothing in this order shall be construed as limiting the

16   government’s ability to object to those requests.           In addition, both

17   parties reserve the right to seek future modifications of this

18   protective order.

19        IT IS SO ORDERED.
20   DATED: ______________

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                                        ____   __________________________
22                                      THE HONORABLE JOSEPHINE L. STATON
                                        UNITED STATES DISTRICT JUDGE
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1                            MEMORANDUM OF UNDERSTANDING
2         1.   I understand that I may be the recipient of documents that

3    contain information that implicate third-party privacy, law

4    enforcement sensitive or national security concerns.

5         2.   I agree that I shall never divulge, publish or reveal, by

6    word, conduct or other means, such restricted documents, or the

7    information therein, unless specifically authorized in writing to do

8    so by an authorized representative of the United States government,

9    or as otherwise ordered by the Court.

10        3.   I understand and agree that Protective Order Material may

11   not be released to or discussed with any person other than those

12   individuals identified in the Protective Order in this case for whom

13   a Memorandum of Understanding has been signed, and has complied with

14   the requirements of the Protective Order entered by the United States

15   District Court for the Central District of California.

16        4.   I understand this agreement will remain binding upon me

17   after the conclusion of the proceedings in United States v. Stephen

18   William Beal, SA CR 19-00047-JLS.

19        5.   I have received, read and understood the Protective Order

20   entered by the United States District Court for the Central

21   District of California in the above case, and I agree to comply with

22   the provisions thereof.

23        I declare under penalty of perjury under the laws of the United

24   States that the foregoing is true and correct.

25   Executed this ____ day of_______________, at ______________________.

26

27              Printed Name                                   Signature
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1                            ACKNOWLEDGMENT BY DEFENDANT
2         1.    I understand that I may have received records, documents,

3    programs, applications, or materials that implicate third-party

4    privacy, law enforcement sensitive or national security concerns.

5         2.    On the date below, I certify that I have returned all

6    discovery information to my counsel and do not possess it in

7    hardcopy, digital, or any other form.

8         I declare under penalty of perjury under the laws of the United

9    States that the foregoing is true and correct.

10   Executed this ____ day of_______________, at ______________________.

11

12              Printed Name                                   Signature
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